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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


       JOHNSON & JOHNSON,       .          Case No. 09-6306 (GEB)
                                .
                 Plaintiff,     .
                                .          402 East State Street
                 v.             .          Trenton, NJ 08608
                                .
       EV3, Inc., et al.,       .
                                .
                 Defendants.    .
                                .          December 23, 2009
       . . . . . . . . . . . . ..          10:01 a.m.


                               TRANSCRIPT OF HEARING
                      BEFORE HONORABLE GARRETT E. BROWN, JR.
                     UNITED STATES DISTRICT COURT CHIEF JUDGE


       APPEARANCES:

       For the Plaintiff:            Riker, Danzig, Scherer, Hyland &
                                     Perretti, LLP
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                                     50 West State Street
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                                     Trenton, NJ 08608-1220

                                     Johnson & Johnson
                                     By: JOHN O’SHAUNESSEY, ESQ.

       For the Defendants:           Nukk-Freeman & Cerra, P.C.
                                     By: KERRIE HESLIN, ESQ.
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    1              THE COURT:    Johnson & Johnson, Inc., et al. which is

    2 Docket Number 09-6306.        For Johnson & Johnson?

    3              MR. CHOCIEY:     Good morning, Your Honor, Edwin Chociey

    4 from Riker, Danzig, Scherer, Hyland and Perretti.             I also have

    5 John O’Shaunessey who is the assistant general counsel for

    6 Johnson & Johnson on the phone.

    7              MR. O’SHAUNESSEY:      Good morning, Your Honor.

    8              THE COURT:    Okay.    And for the defense, EV3, and the

    9 individual defendants.

  10               MS. HESLIN:     Good morning, Your Honor.       Kerrie Heslin

  11 and Robin Rome from Nukk-Freeman and Cerra.

  12               THE COURT:    Okay.    Now, this case, although it was

  13 filed quite recently, has a bit of a history to it.               The

  14 verified complaint was filed on the 11th.             A notice of removal

  15 was filed by the defense on the 14th.            A motion for temporary

  16 restraint and accelerated discovery was filed here on the 16th.

  17 I believe that that relief was sought or contemplated in the

  18 State Court before removal.          We subsequently have a response by

  19 the defense on the 17th.         That’s Number 4 on the docket.         I

  20 spoke to counsel on the 18th.          We have a further response with

  21 a certification of Mr. Grant and then we have a reply brief

  22 which was filed by the plaintiffs on the 21st, Number 6 on the

  23 docket, and some further certifications filed on the 22nd which

  24 is very recently.

  25               So, what we have here is this verified complaint




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    1 wherein the plaintiff is seeking temporary restraints and we

    2 have an opposition by the defense.          What I’m going to do is I’m

    3 going to set this down for a preliminary injunction hearing in

    4 any event, but before I do that on the temporary restraints let

    5 me hear counsel from -- for plaintiff and then counsel for the

    6 defense.     Counsel for the plaintiff?

    7              MR. CHOCIEY:     Thank you, Your Honor.       The protectable

    8 interests here, Your Honor, are in particular the customer

    9 relationships.      This is a relationship business and the

  10 relationships are key.

  11               The sales representative in this case, as do all

  12 sales representatives -- or should all sales representatives,

  13 develop a very close relationship, a very close level of trust

  14 with physicians such as interventional cardiologists and with

  15 other purchasing agents, hospital administrators and nurses and

  16 staff members of the catheterization laboratory.              These sales

  17 representatives are in the procedure rooms with the

  18 interventional cardiologists during procedures.              They develop

  19 a -- they become an intellectual resource for the physicians.

  20               In this case, the individuals defendants called on

  21 interventional cardiologists who use both cardiology and

  22 endovascular products.         And the -- they’ve also called on these

  23 other purchasing agents and administrators who purchase,

  24 negotiate and select both cardiology and endovascular products




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    1 for the interventional cardiologists.

    2              The individual defendants developed and maintained

    3 these relationships for the benefit of the Cordis and Johnson &

    4 Johnson over many years.        Fitzpatrick and McKeever joined in

    5 2000, Barr in 2005.       These are not recent employees.         They have

    6 developed these relationships.         They maintained these

    7 relationships at great expenditure of time, money, training,

    8 education by Cordis with respect to these individuals.               These

    9 individuals, Your Honor, are top sales representatives from

  10 Cordis.      Barr was Number 1 in cardio, Fitzpatrick, Number 8,

  11 McKeever, Number 11, throughout the entire country in cardio.

  12               These individuals were handsomely compensated.

  13 They’ve received hundreds of thousands of dollars in salary and

  14 in variable compensation.         And when they began employment with

  15 Cordis, they signed enforceable, valid, non-compete,

  16 non-solicitation and non-disclosure agreements with Cordis

  17 which specifically relates to, in Paragraphs 6 and 7,

  18 non-competition through subsequent employment, that would be

  19 competitive, and the non-solicitation of customers.               And that’s

  20 Paragraphs 6 and 7 of the employment agreements that these

  21 three individuals signed and were handsomely compensated for.

  22               These three individuals, Your Honor, they resigned

  23 from Cordis.       They were not terminated.       And that’s an

  24 important factor when it comes to the issue of undo hardship.

  25 These individuals voluntarily left Cordis.             Here, Your Honor,



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    1 these individuals easily can, and indeed we have evidence that

    2 they already have, traded on and exploited their Cordis

    3 customer relationships for EV3's benefit.            They can use their

    4 existing relationships with these interventional cardiologists

    5 and other purchasers -- other customers to sell endovascular

    6 products, and that relates to the peripheral procedures that

    7 compete directly with Cordis endovascular products.

    8              Mr. McKeever has admitted that he had been calling on

    9 Lenox Hill Hospital.       He admitted that to Mr. Bonacome

  10 (phonetic) and that’s in Mr. Bonacome’s reply certification.

  11 Lenox Hill Hospital in Manhattan became one of the busiest,

  12 most prestigious and most lucrative accounts.              He said that he

  13 was on a case at Lenox Hill Hospital and that means that you’re

  14 in the procedure room.         You’re in scrubs.      You’re with the

  15 interventional cardiologist or the physician.              You’re there.

  16 You’re answering any questions.           You’re holding products for

  17 the physician.       Again, that level of trust that’s built up with

  18 the customer, i.e., the interventional cardiologists.

  19               Mr. Fitzpatrick has admitted that at least four of

  20 his Cordis accounts have been assigned to him at EV3.               He

  21 doesn’t tell us which other Cordis accounts he had been calling

  22 on or that have been assigned to him at EV3.             He tried to

  23 sidestep the issue by saying that he wasn’t actively servicing

  24 the other Cordis accounts, but I question what exactly -- he

  25 doesn’t explain what that means.           And in the agreement there’s



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    1 no standard that he’s only prohibited from calling on customers

    2 that he actively serviced.         The agreement is quite clear in

    3 Paragraphs 6 and 7 in terms of the customers, the clients and

    4 the accounts that he is prohibited from calling on in a

    5 post-employment situation.         He cannot rewrite this agreement,

    6 Your Honor.

    7              Finally, Barr -- Ms. Barr, she doesn’t even address

    8 in her certification the accounts -- the Cordis accounts that

    9 she is calling on and she does not deny that she is calling on

  10 her Cordis accounts for EV3, a very telling silence on her part

  11 in terms of the Shreveport territory.

  12               Your Honor, it makes no difference here that the

  13 individual defendants are selling endovascular products for EV3

  14 and not cardiology products.          It’s the relationships that are

  15 the protectable interests here.           It’s the relationships with

  16 the physicians and the other customers who purchased both

  17 cardio and endovascular products and who do so.              The individual

  18 defendants, they have these relationships, they develop, they

  19 maintained them for Cordis and -- on Cordis’ dime and Paragraph

  20 7 of these agreements squarely address this circumstance and

  21 prohibit this type of solicitation and selling to those

  22 customers.

  23               And the customers -- these relationships are
  24 legitimately protectable interests.            We look at Harlington
  25 Weinberg (phonetic) from the New Jersey Supreme Court.                We look



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    1 at the Whitmeyer Bros. case, as well which clearly state

    2 that -- for instance in Whitmeyer, the Court said that, “The

    3 employer has a patently legitimate interest in protecting his

    4 trade secrets as well as the confidential business information

    5 and has an equally legitimate interest in protecting his

    6 customer relationships.”        That’s from Whitmeyer Bros, 58 N.J.

    7 at 33.

    8              Your Honor, we also have a situation where these

    9 individual defendants have received significant exposure to

  10 Cordis’ endovascular products and sensitive information such as

  11 sales and rebate information for specific accounts, such as

  12 products in the pipeline and strategic plans.              And we have laid

  13 out in our verified complaint and in our reply certification

  14 the sources of this knowledge, Your Honor.

  15               The defendants try and paint a picture whereby Cordis

  16 Endo and Cordis Cardio are completely separate entities sealed

  17 off -- hermetically sealed off from each other with no sharing

  18 of information, no collaborative efforts, nothing like that.

  19 And that’s far from the cases shown particularly in the reply

  20 where we have set forth examples of the regular interaction.

  21 And it just makes common sense, Your Honor.

  22               The regular interaction between endo sales reps and

  23 cardio sales reps when it comes to discussing their accounts,

  24 sharing leads and inquiries from physicians and from other

  25 purchasers, other clients, being physically present in the



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    1 hospital, seeing where your colleague is spending his or her

    2 time, seeing where your colleague is -- with whom he or she is

    3 speaking on a regular basis, knowing who the big accounts are

    4 in endo, gathering intelligence, sharing this intelligence.                   It

    5 makes good business sense and it’s not brain surgery to

    6 understand that these type of interactions take place.               It’s

    7 just simply good business practice.

    8              Then we also have, Your Honor, collaborative efforts

    9 between cardio and endo.        For instance, co-promotion rebate

  10 programs where collective sales targets for cardio and endo are

  11 established by Cordis.         We have meetings with managers and with

  12 sales representatives such as the individual defendants here

  13 where the collective sales information is discussed.               We have

  14 meetings with the specific accounts where the sales reps

  15 reviews with those accounts the purchasing goals for both

  16 endovascular and cardiology products to achieve their rebates.

  17 We have email updates and status reports that contain both

  18 Cordis Cardio and Endo information and target information

  19 that’s provided to the individual defendants.

  20               And then we have a host of other types of meetings

  21 such as national sales meetings, additional meetings where

  22 confidential and sensitive information about endovascular

  23 products and cardio products are discussed and reviewed and

  24 presented to the sales reps such as the individual defendants

  25 here.     Indeed, one of the individual defendants admits that



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    1 there was sales information discussed at these national

    2 meetings.

    3              Then we have -- for instance, Your Honor,

    4 specifically with respect to Ms. Barr, we have testimony in the

    5 certifications relating to the combined sales efforts of the

    6 cardio and endo through things such as lunches that are

    7 presented by the sales reps in cardio and endo in Shreveport.

    8 And in those discussions there’s information provided about

    9 endovascular products, about endovascular sales, et cetera.

  10               Your Honor, in summation here, we have valid

  11 enforceable restrictive covenants in the employment agreements,

  12 specifically, again, Paragraphs 6 and 7 of the agreements, that

  13 prohibit this very type of unfair competition in which the

  14 individual defendants and EV3 have been engaged.              EV3 has

  15 assigned these individuals to the same territories, to the same

  16 accounts and we even have admissions as to accounts that have

  17 been called on or that have been assigned to these individuals

  18 that were Cordis customer relationships.             These agreements are

  19 specifically tailored to this situation and cover exactly this

  20 type of unfair competition and unfair solicitation of

  21 customers.

  22               If the shoe were on the other foot here, Your Honor,

  23 I would ask if EV3 would allow Cordis to hire the EV3 sales

  24 representatives and allow them to call on the very same

  25 physicians, the interventional cardiologists who use both



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    1 cardiovascular and endovascular products, purchase those

    2 products.      And I daresay the answer would be no and I think

    3 that that would show that the protectable interests here, in

    4 particular the relationships, customer relationships and the

    5 sensitive information relating to endovascular is of compelling

    6 concern to be addressed by these agreements and also under the

    7 law that we’ve cited extensively in our papers.

    8              And it also shows irreparable harm.          The irreparable

    9 harm, Your Honor, goes to the exploitation and the trading on

   10 these relationships and in the Manhattan Associates case, in

   11 the Third Circuit case of (indiscernible) Enterprises which we

   12 also cited in our papers, they say -- those Courts stated the

   13 grounds for irreparable injury include loss of control of the

   14 reputation, loss of trade and loss of good will.              And that’s

   15 exactly what we have here, Your Honor.

   16              We have well compensated sales representatives who

   17 have been at Cordis for a lengthy period of time who have now

   18 voluntarily terminated their employment with Cordis and who are

   19 going to be -- who are going to and who can go to the exact

   20 same customers with whom they dealt over a number of years and

   21 easily transfer those relationships to the endovascular side of

   22 the business of EV3 because those very customers are the ones

   23 who purchased and used both cardio and endovascular products

   24 through Cordis.

   25              Now, EV3 also has a division in neurovascular, so



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    1 this is not a situation where these individual defendants would

    2 be put out of work or put out on the street.             Their sales

    3 skills are certainly transferable to other areas and so in

    4 order to comply with the agreements -- actually there’s even a

    5 provision in these employment agreements, Your Honor, that

    6 deals with a new employer that is diversified and --

    7              THE COURT:     I read that.

    8              MR. CHOCIEY:     And, so this is a prime example where

    9 that type of situation can be used and addressed.

   10              THE COURT:     Very well.

   11              MR. CHOCIEY:     Thank you, very much, Your Honor.          We

   12 also have a request about expedited discovery.

   13              THE COURT:     I know that.     We’ll deal with that later.

   14              MR. CHOCIEY:     Thank you.

   15              THE COURT:     Let’s first deal with this issue.          Ms.

   16 Heslin?

   17              MS. ROME:     Your Honor, it’s Robin Rome on behalf of

   18 the defendants.       If I may, I’d like to briefly address the

   19 facts and as Your Honor knows we -- we’ve raised issues

   20 regarding personal jurisdiction.          If Ms. Heslin can address

   21 that briefly and then we can get back to the merits of the TRO.

   22              THE COURT:     All right.    Well, if you want to address

   23 the jurisdictional aspect, we can -- that’s a preliminary one

   24 we can deal with quite quickly.          Ms. Heslin, do you have

   25 anything further than what’s in your papers?



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    1              MS. HESLIN:     Well, Your Honor, it’s our position that

    2 the Court with all due respect does not have parental

    3 jurisdiction over the individual defendants Fitzpatrick and

    4 McKeever.      While Ms. Barr signed and non-compete agreement in

    5 which she consented to do jurisdiction in the State and Federal

    6 Courts in New Jersey, the non-compete agreement where it is

    7 signed by Mr. Fitzpatrick and Mr. McKeever do not contain that

    8 same provision and they are clearly (indiscernible) defendants.

    9 Due process requires that a defendant who is not physically

   10 present in New Jersey has certain minimal contacts with New

   11 Jersey, but that the maintenance of a lawsuit against them does

   12 not send judicial motions of their claims substantial --

   13              THE COURT:     I know.    I read your papers on that.

   14 Anything further?       I think this can be disposed of very

   15 quickly.     We have defendants here as far as Fitzpatrick and

   16 McKeever who are working for a New Jersey corporation in a

   17 national company, gone to another national company with

   18 contacts in New Jersey and elsewhere and they get their

   19 paychecks from New Jersey.         They deal with their superiors in

   20 New Jersey.      To read this in that -- this narrow manner would

   21 be contrary to the teachings on jurisdiction, so I will deny

   22 that.     Let’s move on to the merits.

   23              MS. ROME:     Your Honor, the plaintiff would have this

   24 Court believe that EV3 essentially plucked these three

   25 individuals defendants out of Cordis Cardio, put them in the



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    1 exact same territories they were servicing, servicing the exact

    2 same customers that they serviced with Cordis Cardio and that

    3 they’re funneling confidential proprietary information to EV3.

    4 That’s -- that is simply not the case and the certifications

    5 that have been submitted by the defendants support that.

    6              What we contend has actually happened here is that

    7 Cordis as a company, particularly its cardio division, has

    8 basically been bleeding sales representatives.             They’re now

    9 trying to tie all three of these individuals because they’ve

   10 all gone to EV3 at entirely different time periods to try to

   11 create some type of nefarious conduct on the part of the

   12 individuals and EV3.

   13              THE COURT:     Well, it’s all around the same time

   14 period, September through November, isn’t it?

   15              MS. ROME:     It is, Judge, but if you look at the --

   16 actually no because Ms. Barr had a pretty lengthy -- a five

   17 month gap in her --

   18              THE COURT:     I know that.     She was with St. Jude’s,

   19 but she went with your company during the September through

   20 November time period, correct?

   21              MS. ROME:     Correct, Judge.     Correct.    And as Ms. Barr

   22 put in her certification, there are many other sales

   23 representatives who went to other competing organizations from

   24 Cordis Cardio, as well.        So, they clearly have been losing

   25 sales representatives over the past several months.



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    1              In terms of the -- this -- the way they’re presenting

    2 what’s happened here, they talk about EV3 targeting these

    3 individuals and perhaps I guess to the point Your Honor was

    4 just making, there’s absolutely no evidence of that.               All of

    5 the individual defendants have all certified they were not

    6 targeted.      They were not recruited by EV3.        They reached out.

    7 They were dissatisfied with their employment with Cordis.                They

    8 reached out to EV3.

    9              EV3 is a market leader in the peripheral vascular

   10 market.     Before these individual defendants joined them, they

   11 already had a presence in these territories.             They had

   12 customers.      They had products.      They did not pull these

   13 defendants out of Cordis Cardio to come in and service the same

   14 clients, the same territory and the same accounts.

   15              In addition, Judge, clearly EV3 did not target the

   16 individual defendants to gain any insight into confidential

   17 proprietary information.         All of the individuals have certified

   18 they did not take any confidential information with them and

   19 they certainly had not shared any confidential information with

   20 anyone at EV3.

   21              I think it’s important to note too, Judge, the way

   22 the plaintiff has positioned its case, accurately it is a

   23 customer relationship that are the key to their claims and

   24 their request for a TRO, but they misstate the agreement.                The

   25 agreement does not just protect customer relationships with



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    1 whom these individuals had contact during twelve months.

    2 There’s an additional limitation if they do not reveal their

    3 papers and that their orders did not reflect which is the

    4 individuals have to be contacting those customers for the

    5 purpose of selling competing products.            And that’s really key

    6 in this case because what the individual defendants did is

    7 precisely what they should have done.

    8              They went to work for an organization, EV3, that

    9 services an entirely different market that they serviced when

   10 they were at Cordis.        They were at one of five divisions with

   11 Cordis, Cordis Cardio.        Cordis Endo is an entirely distinct

   12 division.      That’s actually the language used on the Cordis

   13 website.     It’s distinct.      They did not sell endovascular

   14 products, peripheral vascular products.            They sold cardiology

   15 products.

   16              In terms of competition between endo -- Cordis Endo

   17 and EV3, EV3 and the individuals and sales reps, their primary

   18 target is a very specific proprietary system that EV3 has.

   19 It’s the atherectomy products and what they do is they

   20 essentially remove plaque.         Cordis does not have that product.

   21 Cordis is not in that market and neither is J&J.

   22              So, what the plaintiff had done here is they’ve lost,

   23 as counsel said, top sales representatives.             They’re upset with

   24 that.     These sales reps did exactly what they should have done.

   25 They went to a totally different market and now they’re trying



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    1 to tie in facts that aren’t there to prevent them from working

    2 in a totally unrelated field.

    3              In terms of some of the other initial facts that are

    4 really relevant here, Mr. McKeever, as counsel said, he --

    5 actually there is only one account that he also called upon

    6 when he was with, again, Cordis Cardio, not Cordis Endo.               He

    7 did not sell any endovascular products to Lenox Hill.               At Lenox

    8 Hill, he is selling only the plaque removal product.               He does

    9 not sell any of the products that directly compete with Cordis

   10 Endo.     There’s another sales representative from EV3 assigned

   11 to that account who sells those products.            Lenox Hill is an

   12 existing client of EV3.        They were a client of the company

   13 before Mr. Fitzpatrick -- or before Mr. McKeever joined and he

   14 is selling different products as I just stated.

   15              Now, with respect to Mr. Fitzpatrick, Mr. Fitzpatrick

   16 -- and, again, I would contend (indiscernible) to present any

   17 conflicting evidence.        They just take issue with the wording

   18 that Mr. Fitzpatrick has used.          Mr. Fitzpatrick, of all of the

   19 accounts he has with EV3, of those 39 accounts there are four

   20 accounts that he had contacts with.           Again, he did not sell any

   21 competing products when he was with Cordis Cardio when he had

   22 contacts with these accounts.          Three of those accounts, and

   23 this is in Mr. Fitzpatrick’s certification, three of those

   24 accounts don’t even use Cordis Endo products.             Cordis Endo has

   25 no presence in those particular accounts.            As a matter of fact,



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    1 I think one account as we said in the certification, prohibited

    2 from using Cordis Endo products.          They use products of another

    3 EV3 competitor.       And that two of these accounts, two of the

    4 four, he is -- his customers, his clients are individuals that

    5 EV3 introduced him to.        He had no contact with these

    6 individuals when he worked at Cordis Cardio.

    7              With respect to Ms. Barr, the facts with Ms. Barr are

    8 actually even more tenuous.         Mr. Barr, as we said earlier, had

    9 a gap in her employment.         She left Cordis Cardio.       She went to

   10 work for St. Jude Medical.         Now, Judge, St. Jude Medical -- the

   11 five months that she worked there, she serviced the same exact

   12 territory that she did with Cordis Cardio.            She called on the

   13 same customers she did with Cordis Cardio.            Now, plaintiffs

   14 really don’t address that issue directly in their certification

   15 except to say that St. Jude Medical, it does not compete.                That

   16 section’s not accurate.

   17              Cordis has another division, one of their five

   18 divisions, that actually sells those same products as St. Jude

   19 Medical and that’s their (indiscernible) division.              So, for

   20 Cordis Cardio to now come in late in the game when Ms. Barr has

   21 continued to develop these relationships with St. Jude, now ten

   22 months later to try and preclude her from calling on these

   23 customers, certainly can be deemed a waiver of any restrictions

   24 with respect to her.

   25              And as we noted in our certification, Judge, most of



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    1 the customers, but for the ones we’ve cited, customers in

    2 Mississippi that she doesn’t even service with EV3, she brought

    3 with them to Cordis Cardio.         They were her customers as a

    4 pharmaceutical rep.        Again, the plaintiffs do not dispute that.

    5 They referred to her employment application and the length of

    6 her employment in pharmaceutical sales, but they have

    7 absolutely no facts to contradict that these were existing

    8 relationships she brought with her.

    9              Your Honor, knowing that these individual defendants

   10 do not sell competing products and that this is really

   11 dispositive on their violation of the customer non-solicit

   12 because, again, it’s not just the relationships.              It’s whether

   13 they’re selling competing products.           That’s their language.

   14 It’s a contract of adhesion that these individuals signed

   15 believing by going to a different market they were not

   16 competing.

   17              They really try to blur the line between Cordis

   18 Cardio and Cordis Endo, but there are really common facts in

   19 all of the certifications we’ve submitted that are dispositive

   20 in terms of the TRO.

   21              First of all, they never handled marketing or sales

   22 of products of Cordis Endo.         They never called on any customers

   23 with Cordis Endo.       During the time they were with Cordis

   24 Cardio, individual defendants never trained on any endovascular

   25 products or any Cordis Endo products.           During the time they



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    1 were with Cordis Cardio, the individual defendants never had

    2 any knowledge of Cordis Endo type life products, research or

    3 development plans, cost for products, charging clients or

    4 pricing.     And in addition, all of the individual defendants

    5 certified that the technology resources that the plaintiffs had

    6 identified, namely, the Gateway System by Cordis, they never

    7 accessed those systems for information on Cordis Endo.

    8              They also all certified that they did not take any

    9 Cordis confidential information with them when they left.                They

   10 also had not used any Cordis Endo sales or marketing strategies

   11 or pricing as part of their employment with EV3.              The bottom

   12 line is, Judge, they are not doing anything to violate any

   13 confidentiality obligations.          They are not utilizing that

   14 information in the course of their employment with EV3.

   15              So, when you actually look at it, Judge, I would like

   16 to address briefly that -- the first two prongs of the TRO

   17 standard and then Ms. Heslin’s going to address the other two

   18 prongs.     But, first and foremost, there are clearly disputed

   19 issues of fact here.        The individual defendants have submitted

   20 their certifications.        The plaintiffs have now submitted three

   21 additional certifications and the primary purpose is to dispute

   22 the facts in the individual defendant’s certifications.

   23              It’s very clear under the authorities in this circuit

   24 that when there is a disputed issue of fact, it is

   25 inappropriate to issue injunctive relief.            In looking at the --



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    1              THE COURT:     Preliminary injunction, one must rule on

    2 disputed issues of fact.         On a TRO however --

    3              MS. ROME:     Right.

    4              THE COURT:     -- just the fact that you dispute what

    5 someone else says, doesn’t mean that there’s no TRO or the

    6 courts would be useless.         Proceed.

    7              MS. ROME:     In terms of the TRO standard, Judge, the

    8 irreparable harm issue -- actually, let me take first the

    9 prong, plaintiffs are not likely to prevail on the merits of

   10 the case.      We talked about the facts, Judge, that the crux of

   11 this case is really the customer non-solicit.             There is also a

   12 paragraph, I believe it’s Paragraph 6, which talks about

   13 post-employment work that the defendants can undertake.               I do

   14 not believe that the plaintiffs are seeking to bar entirely the

   15 employment of these individuals from EV3.            As a matter of fact,

   16 on Page 24 of their briefing they specifically say that.

   17 They’re free to work at EV3, or anybody in the endovascular

   18 industry as long as they don’t solicit the customer

   19 relationships or disclose confidential information.

   20              Now, again, Judge, it’s not merely soliciting the

   21 relationships.       It’s soliciting for purposes of selling a

   22 competing product.       But, I think clearly in this case the

   23 relief is being requested in the TRO in terms of barring them

   24 from working for EV3 appears to be a moot issue.

   25              In terms of the customer relationships and looking at



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    1 irreparable harm, again, Judge, as we emphasized in the outset,

    2 they’re interpreting and stretching the non-solicit obligations

    3 way beyond the language and scope.           Their TRO order,

    4 specifically Paragraph A, precludes the individual defendants

    5 from calling on any customers they had contact with during the

    6 last 12 months of their employment.           It has to be customers

    7 with which they’re selling a competing product.

    8              Now, to the extent that they try to expand the

    9 competing product beyond those offered by the company they work

   10 for, Cordis Cardio, it’s defendants’ intention that that would

   11 be unreasonable under the standards that had been enunciated by

   12 the Court in this circuit.         Specifically, it would be beyond

   13 the scope of what would be necessary to protect the legitimate

   14 business interests of Cordis Cardio.

   15              As a matter of fact, Judge, the way the agreement

   16 could be deemed to be worded would also be able to include J&J,

   17 which J&J is a worldwide company also engaged in pharmaceutical

   18 sales.     It would be highly unreasonable to think that these

   19 individuals who have had careers in sales for their entire

   20 lives would be precluded from calling on any medical device

   21 company, any pharmaceutical company simply because that is a

   22 product that is offered by J&J or Cordis.            And, again, Your

   23 Honor, the facts with respect to Barr and the plaintiff’s

   24 conduct in that case is dispositive.           She went to work for a

   25 competitor calling a competitor from one of their divisions,



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    1 calling on the same customers, the same territory and they sat.

    2 They did nothing with respect to Barr.

    3              THE COURT:     All right.    Anything further?      Mr.

    4 Chociey, any response before I rule?

    5              MR. CHOCIEY:     Yes, just very briefly, Your Honor.          I

    6 think it’s very telling here that the key of the relationships

    7 here is that these relationships provide the individual

    8 defendants with instant access to these customers.              Otherwise,

    9 why would EV3 be sending these sales representatives to the

   10 very same accounts that they serviced for Cordis?

   11              With respect to Barr, she had nothing to do with the

   12 Cordis product line that was the subject of her work with St.

   13 Jude.     So, it’s a totally different circumstance.

   14              And, Your Honor, if you look at the language in

   15 Paragraphs 6 and 7 of the agreement, it specifically applies to

   16 competing products.        And if you look at -- if you tie that into

   17 the language in the certifications of Fitzpatrick and Barr,

   18 they talk about their focus is on these plaque products.               They

   19 don’t say that they’re exclusively selling it.             They carefully

   20 word it that their focus is on that.           And then with respect to

   21 the certification of McKeever, he doesn’t even have that type

   22 of language in Paragraph 5 of his certification.              He simply

   23 talks about endovascular products.

   24              So, Your Honor, we would submit that the plaintiffs

   25 here -- we met the TRO standard.          These relationships are



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    1 covered by the employment agreements, specifically Paragraphs 6

    2 and 7, and we would request that the Court enter the order to

    3 show cause with the temporary restraints and provide expedited

    4 discovery.      Thank you, Judge.

    5              THE COURT:     Thank you, counsel.      Now, I have reviewed

    6 the submissions here and I’ve considered the four factors.                And

    7 I emphasize that what we have here is a prompt request for

    8 temporary restraints and order to show cause for a preliminary

    9 injunction.      In any event, we will have a hearing.          We will

   10 make a determination of disputed facts as counsel noted and we

   11 will make that determination.          But, now I have a request for a

   12 temporary restraining order only.

   13              Looking at this, it seems to me that we have these

   14 three representatives who have considerable knowledge and

   15 contacts of the individual accounts, different product, but

   16 there is a very close relationship as the plaintiff notes in

   17 its papers between what they are now selling and what they

   18 previously sold.       And they’re indeed -- the customers, whether

   19 it’s the hospitals or the doctors, can use both lines of

   20 product and frequently do.

   21              The plaintiff requests an order to show cause and I

   22 will set that down.        Also requests the temporary restraints

   23 during the period before the order to show cause.              As to those

   24 individual restraints, I will grant in part and deny in part.

   25 We turn to Page 6 of the proposed order, I will temporarily



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    1 enjoin and temporarily restrain the individual defendants from

    2 soliciting any business from, selling to or rendering any

    3 service to, or directly or indirectly helping others to solicit

    4 business from, or render any service, or selling to any of the

    5 accounts, customers or clients with whom they had contact

    6 during the last 12 months of employment with Cordis for a

    7 period of 18 months.        Now, I will say for now from the date of

    8 the Court order, but I will consider at the hearing whether it

    9 should be 18 months from the time they left or 18 months from

   10 some subsequent time.        But, for now I will enter the first

   11 paragraph.

   12              B, EV3 and its officers, agents and employees are

   13 enjoined from causing or permitting the individual defendants

   14 to sell to, or render any services to, or directly or

   15 indirectly help others solicit business from, or render any

   16 service or selling to any of the accounts, customers or clients

   17 with whom they’ve had contact during the last 12 months of

   18 employment with Cordis for a period of 18 months.              And it will

   19 presently be from the date of this order, but I will consider

   20 whether it should be from the time they left or whether it

   21 should be from a subsequent date.

   22              Now, as far as Item C, which provides the individual

   23 defendants are enjoined from soliciting or hiring on their

   24 behalf or on behalf of anyone else including, but not limited

   25 to EV3, any employee of plaintiff’s who have signed a



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    1 non-compete agreement for a period of 12 months from the date

    2 of the Court’s order, I will not grant that as temporary

    3 restraints.      We’ll consider that at the hearing.          But, based

    4 upon the information I have here so far, when we look at the

    5 four factors; substantial likelihood of success on the merit,

    6 irreparable injury, a balance of the hardships and the public

    7 interests, I’m not going to enter that.

    8              As the case of Subparagraph D, EV3 and its officers,

    9 agents and employees are enjoined from causing or permitting

   10 the individual defendants from soliciting or hiring on EV3's

   11 behalf any employee of plaintiff who has signed a

   12 non-compete agreement for a period of 12 months from date of

   13 the Court’s order, I will not enter that as a temporary

   14 restraint.      Of course, if EV3 or the defendants are alleged to

   15 have encouraged other Cordis employees to breach non-compete

   16 obligations, I will consider that at a subsequent time.               But,

   17 as of now, I will not.

   18              And, again, Subparagraph E, Subparagraph F,

   19 Subparagraph G, I will not grant.           Subparagraph H on Page 8,

   20 the individual defendants are enjoined from disclosing, using,

   21 disseminating, lecturing upon or publishing any of plaintiff’s

   22 confidential proprietary trade secret information as defined in

   23 the respective non-compete agreements.            And I, EV3 and their

   24 officers, agents and employees are enjoined from causing or

   25 permitting the individual defendants to disclose or use



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    1 receiving, using, disclosing plaintiff’s confidential

    2 proprietary and trade secret information as defined by the

    3 respective non-compete agreements, I will enter those as

    4 temporary restraints.

    5              As far as J, the turnover of information, I will not

    6 as this has seemed to be -- the defendants say they don’t have

    7 that information.       There’s no proof that they do at this point.

    8 K, otherwise enjoined from violating the terms, I will grant

    9 that.     And L, I will grant that.       M, I will grant that.

   10              Now, let’s address the issue of a bond and the issue

   11 of expedited discovery on a limited basis.            Now, I was planning

   12 on holding this hearing in early January.            I don’t know what

   13 counsel’s schedules are.         I have some time in the latter part

   14 of the week of the 4th, the 6th, 7th or 8th when I could hear

   15 you.    If we go on to the 11th, I’m going to be in the middle of

   16 a six week criminal case and I would probably be hearing you

   17 during the luncheon recess for maybe an hour a day or something

   18 of that sort.      I don’t know how that fits in with the

   19 availability of your witnesses, the discovery that you feel you

   20 need and, of course, the question of bond also.              It really

   21 would depend on how long these restraints are going to be in

   22 effect before the hearing.

   23              It’s now quarter of 11.        I have another case coming

   24 up shortly.      My intent is to ask you folks to continue on the

   25 line to discuss with yourselves your work schedule, witnesses’



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    1 availability, the discovery that you reasonably want, what you

    2 think is an appropriate bond and get back to me on that at

    3 11:30.     How does that sound?

    4              MS. ROME:     Very good, Your Honor.

    5              MR. CHOCIEY:     That’s fine, Your Honor.        Thank you.

    6              THE COURT:     All right.    We’ll talk to you at 11:30

    7 then.

    8              MS. ROME:     Your Honor?

    9              THE COURT:     Yes.   Yes.

   10              MS. ROME:     I apologize.     This is Robin Rome for the

   11 defendants.      Can I get one point of clarification?          On the

   12 restrictions in A and B which is specifically a customer

   13 non-solicitation, the way the order is currently written is it

   14 prohibits contact with the individuals which doesn’t accurately

   15 reflect the language of the agreement.            What we would ask is

   16 that the order reflect the language of the agreement which is

   17 contact during the last 12 months of employment for any purpose

   18 related to the sale of any such product or service.

   19              THE COURT:     Well, I’m going to allow you folks in

   20 that time to discuss the form of order in which you think are

   21 appropriate and get back to me with that at the same time, all

   22 right?

   23              MS. ROME:     Okay, Judge.     Thank you.

   24              THE COURT:     So, all the details you’ll be discussing

   25 in the next 45 minutes, okay?



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    1              MS. ROME:     Thank you.

    2              MR. CHOCIEY:     Thank you.

    3              THE COURT:     Thank you.    All right.

    4               (Unrelated matters discussed at this time)

    5              THE COURT:     Yes, this should be the Johnson & Johnson

    6 case, is that right?

    7              MS. ROME:     Yes, you’re correct, Judge.

    8              THE COURT:     All right.    Appearances again?

    9              MR. CHOCIEY:     Yes, Your Honor, Edwin Chociey, Riker,

   10 Danzig, Scherer, Hyland and Perretti for the plaintiffs.               I

   11 also have John O’Shaunessey who is the assistant general

   12 counsel of Johnson & Johnson on the telephone with me.

   13              THE COURT:     All right.    And for the defense?

   14              MS. HESLIN:     Kerrie Heslin and Robin Rome from

   15 Nukk-Freeman and Cerra, Your Honor.

   16              THE COURT:     And anyone else?

   17              MR. CHOCIEY:     No, that’s it, Your Honor.

   18              THE COURT:     All right.    Now, you have conferred on

   19 the form of the order and the bond, is that correct?

   20              MR. CHOCIEY:     Yes, Your Honor.

   21              THE COURT:     And what have you -- what are your

   22 positions on this?

   23              MR. CHOCIEY:     Well, Your Honor, we have discussed a

   24 few items.      In terms of Paragraphs A and B of the order, the

   25 defendants have requested some additional language in there



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    1 relating to the agreement and we had proposed -- we, the

    2 plaintiffs, had proposed to add in the following language in

    3 Paragraphs A and B to mirror the employment agreements.               And

    4 where the restriction states that individual defendants are

    5 enjoined from soliciting any business from, selling to, or

    6 rendering any services to, or directly or indirectly helping

    7 others solicit business from, or rendering any service or

    8 selling to any of the accounts, customers or clients with whom

    9 they had contact during the 12 months of employment for -- I’m

   10 sorry, of plaintiff with Cordis, comma, we, the plaintiffs,

   11 pursuant to our discussion and the request by the defendants

   12 had suggested the following which mirrors the language of the

   13 agreements.

   14              For any purpose related to the sale of any product or

   15 service that could compete with a product or service being sold

   16 or developed by Cordis, comma, and then there’s additional

   17 language for a period of 18 months and I believe that Your

   18 Honor had addressed that particular phrase in the Court’s

   19 earlier ruling.

   20              THE COURT:     That’s correct.

   21              MR. CHOCIEY:     And, so that was what we had suggested

   22 with respect to A and B pursuant to the point that the

   23 defendants raised at the end of the prior phone call.

   24              THE COURT:     And what’s the defendant’s reaction to

   25 that?



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    1              MS. ROME:     Your Honor, we appreciate that the

    2 language will track what’s in the agreement.             The concern has

    3 to do with Cordis as opposed to Cordis Endo.             The entire basis

    4 for the TRO, and I believe Your Honor’s ruling earlier today,

    5 was that there was a level of stickiness or interaction between

    6 Cordis Endo and Cordis Cardio.          Cordis, as an entity, has five

    7 different divisions.        Cardio and endo are two of the divisions,

    8 but they have three others who are in completely different

    9 markets, as well.

   10              So, what we have proposed consistent with what was

   11 requested in the TRO and ruled on this morning was it would be

   12 the sale of any product or service offered by Cordis Endo.                And

   13 obviously we could put Cordis Cardio in there, as well.

   14              MR. CHOCIEY:     Your Honor, this is -- this is just a

   15 way for the defendants to get these sales representatives back

   16 into these relationships, trading on them, exploiting them for

   17 whatever products, you know, they might try and address.               It’s

   18 a type of backdoor way of vitiating the language of the

   19 agreements and the restrictions that are contained in this

   20 agreement.

   21              THE COURT:     Well, I’ll tell you.      I think that --

   22 let’s stick with the language of the agreement.              I don’t want

   23 any emergency applications between Christmas and New Year’s, so

   24 we can deal with this in the hearing.           But, for now, let’s

   25 track the agreement.        I’ll use the plaintiff’s language on



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    1 that.     Next issue?

    2              MR. CHOCIEY:     The next issue, Your Honor, is an issue

    3 with respect to a specific product that the defendants raised

    4 and that was these atherectomy products that they say that

    5 their individual defendants are going to be selling at least in

    6 part.     These are products that compete with the products that

    7 -- such as stents and balloons that Cordis manufactures

    8 themselves.      They do the same type of work in terms of clearing

    9 blockages in arteries.        And we just want to be very clear that

   10 the temporary restraints apply to those products from the

   11 plaintiff’s perspective.

   12              MS. ROME:     And, Your Honor, what we had agreed to

   13 previously is that we would do an exchange of the products --

   14 the actual products themselves and then also the list of

   15 customers, so the individual defendants would know exactly what

   16 the limitations were in the TRO.          With the atherectomy products

   17 as the certifications support, it is a one of a kind

   18 proprietary product.        There are three other companies that

   19 offer it.      Cordis and J&J are not one of them.

   20              So, you know, for the individual defendants, even

   21 given the language in the agreement, to be restricted from

   22 selling those -- and, again, we’ll exchange the list of

   23 products that really do directly compete, would go down the

   24 scope of even what the agreement provides.

   25              MR. CHOCIEY:     Well, Your Honor, that’s another



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    1 backdoor way of emasculating the agreement and the order in

    2 terms of these atherectomy products being products that are --

    3 that compete with and do the same type of --

    4              THE COURT:     Well, they don’t directly compete, do

    5 they?     And --

    6              MR. CHOCIEY:     No, they don’t.      They do the same type

    7 of work in terms of clearing blockages in arteries.

    8              THE COURT:     That may well be and we can address that

    9 at the hearing.       But, for now if we’re dealing with something

   10 other than direct competition based on this record for the

   11 purpose of a TRO, I will not include that.            Next issue?

   12              MS. ROME:     The other issue that we raised with

   13 plaintiff, Judge, was with respect to Ms. Barr.              We had put

   14 this in our papers and we really didn’t explore it in the

   15 argument, but Ms. Barr had several relationships that she

   16 actually brought with her to Cordis that we -- we have 21

   17 recommendations in hand that predate her employment.               Actually,

   18 some of them were given to Cordis, so she could get the job.

   19 And under the authority that -- specifically medicals -- and,

   20 again, we raised this with counsel before we got on with Your

   21 Honor, but could not resolve it, but the medical coordinates

   22 makes it specifically clear that what an employee brings to

   23 their employer they should not be able to take away.               So, to

   24 the extent the employee has these existing relationships that

   25 they brought with them to the employer, the employer is



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    1 prohibited from precluding those relationships even with a

    2 restrictive covenant.

    3              So, what we’ve proposed to plaintiff was we would --

    4 and we could provide them with the recommendations themselves,

    5 is actually come up with a list for Ms. Barr that represent the

    6 pre-existing relationships that she brought with her and

    7 serviced in Cordis.

    8              THE COURT:     What’s the plaintiff’s position on this?

    9              MR. CHOCIEY:     Your Honor, I haven’t seen the list.

   10 It’s not part of the record here.           It would be something that

   11 we would need to discuss offline.           We have yet -- we haven’t

   12 seen who these alleged customers are and I would need to

   13 explore that with my client.          I don’t think anybody is in a

   14 position, whether it be plaintiffs or the Court, to address any

   15 type of carve-outs from the order as we stand right now.

   16 There’s simply no record on it and it’s something that we would

   17 certainly discuss with the defendant’s offline and have -- I

   18 would then have an opportunity to review it with my client and

   19 find out if those representations are correct.

   20              THE COURT:     Well, the order provides for a

   21 modification on two days notice.          Why don’t we enter the order.

   22 You can work this out, contact me if you can’t work it out

   23 among yourselves.

   24              MR. CHOCIEY:     Okay.

   25              MS. ROME:     Great.   Thank you, Your Honor.



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    1              THE COURT:     Anything else?

    2              MS. ROME:     Your Honor, the other issues left to

    3 discuss with you are the issues of the schedule that we have

    4 agreed to as far as discovery, also the issue of the bond.

    5              THE COURT:     Okay.

    6              MS. ROME:     We had proposed -- to maybe take the

    7 easier one first, we proposed the -- a bond of $50,000 per

    8 individual based on case law and we had not heard yet from the

    9 plaintiffs whether they objected to that or not.

   10              THE COURT:     Mr. Chociey?

   11              MR. CHOCIEY:     Yes, Your Honor, it seems a bit high,

   12 $50,000 per individual defendant.           We’re obviously -- we’d be

   13 subject to the Court’s discretion in this regard, but it seems

   14 a bit high per individual.

   15              MS. ROME:     Well, Your Honor, under the discovery

   16 schedule that the parties have agreed to, the here -- the

   17 preliminary injunction hearing in this case will not occur

   18 until mid February.        So, these people are essentially for the

   19 next two months going to be put out of their livelihood.

   20              THE COURT:     I think it’s reasonable and certainly J&J

   21 and Cordis won’t be hurt by posting such a bond, so I will

   22 provide for the 50,000.        Now, you’re schedule for discovery and

   23 hearing, tell me about that, people.

   24              MS. ROME:     Your Honor, just for clarification, our

   25 request had been that the bond be for 50,000 per individual, so



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    1 it would be 150.

    2              THE COURT:     That’s right.     That’s right.

    3              MR. CHOCIEY:     Your Honor, may we discuss timing

    4 and --

    5              THE COURT:     Yes.

    6              MR. CHOCIEY:     -- some of these places require a

    7 corporate signature and with the holidays.            It may be hard to

    8 get that in place within a week or so.

    9              THE COURT:     Get -- well, listen, get the bond in

   10 by -- oh, let’s see.        Why don’t we make it by the 6th of

   11 January, how’s that sound?

   12              MR. CHOCIEY:     That would be fine, Your Honor.

   13              THE COURT:     I mean, again, I think both plaintiffs

   14 and defendants are good for it, so there’s not a problem here.

   15              MR. CHOCIEY:     Okay.    Thank you.

   16              THE COURT:     All right?    Now, your schedule, you

   17 didn’t like the first week in January.            Even the second week,

   18 you wanted to push the PI back a bit?           Tell me about it.

   19              MS. ROME:     Your Honor, while we certainly would

   20 like -- and our client would like to get this resolved as soon

   21 as possible especially since there are restraints now that are

   22 going to be in place.        Realistically speaking, given the timing

   23 with the holidays, the fact that our clients’ facilities are

   24 shut down from tomorrow until January 4th and the fact that all

   25 of our clients are outside of New Jersey in four different



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    1 states, it’s going to take a little bit of a Herculean effort

    2 just to get this moving.

    3              So, what we had agreed to is that the parties would

    4 exchange written discovery demands by January 6th and turn

    5 responses around in a little over a week by January 15th.                We

    6 would conduct the depositions of these individuals the last two

    7 weeks in January, so that would be the week of January 18th and

    8 the week of January 25th.          We would submit to the Court

    9 supplemental depositions in the anticipation of the preliminary

   10 injunction hearing.        Plaintiffs would get their papers due by

   11 February 5th.      We would get our papers due by February 10th and

   12 if plaintiffs wanted to submit a reply, they would do that by

   13 February 12th which would mean that we would be ready to

   14 proceed before the Court the week of February 15th.

   15              THE COURT:     Can’t do it the week of the 15th.         Could

   16 do it the week of the 22nd.

   17              MS. ROME:     Okay.    I mean, if that would be better for

   18 Your Honor, that’s fine.

   19              THE COURT:     All right.    I -- I’m assuming my trial

   20 will be finished by then.          I’m inclined to give you the 25th

   21 and hopefully all day then.         If I’m still in trial then, I’ll

   22 have to check -- chop it up a bit, but right now I think I can

   23 carve out the day of the 25th, all right?

   24              MS. ROME:     Thanks again, Your Honor.       The only issue

   25 that hopefully we’ll be able to resolve amongst ourselves is



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    1 the location of the depositions because the proposed order that

    2 has been submitted to you requires that they can be conducted

    3 in New Jersey.       And given that none of these defendants are in

    4 New Jersey, I don’t know, you know, if that’s going to be a

    5 problem.     We haven’t had an opportunity to discuss that with

    6 our client yet.

    7              THE COURT:     I would think you could work it out,

    8 can’t you?

    9              MS. ROME:     I think we can, Judge.

   10              THE COURT:     All right.

   11              MS. ROME:     There’s only one last issue, Your Honor.

   12 The proposed form of order that the defendant -- the plaintiff

   13 has submitted includes in them a list of document demands.

   14              THE COURT:     Yes.

   15              MS. ROME:     And some of them are overly broad and, so

   16 we tried to discuss them with plaintiff’s counsel before

   17 getting online with Your Honor, but they’re not inclined to

   18 narrow them at all.        And in light of the fact that Your Honor’s

   19 inclined to enter an order that includes these, we would need

   20 to address some of them because they are just really a --

   21              THE COURT:     All right.

   22              MS. ROME:     -- above and beyond --

   23              THE COURT:     Let’s work out the order and as far as

   24 the document demands and discovery, let’s focus it narrowly to

   25 the preliminary injunction hearing and what is relevant to



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    1 that.     If you need me to try break and log jams, I will.            But,

    2 let’s think of what can reasonably be done in this abbreviated

    3 time frame.      And also, I wonder if I could call upon both of

    4 you to give me a -- an order consented to as of form as soon as

    5 possible.      How soon would that be?

    6              MR. CHOCIEY:     We could certainly work on that today,

    7 Your Honor.

    8              THE COURT:     And when will I have it?

    9              MR. CHOCIEY:     By close of business?

   10              THE COURT:     All right.    That’s good.

   11              MS. ROME:     Your Honor -- but, Your Honor, the only

   12 issue that we have is that we would need an opportunity to see

   13 that, as well.       And if it’s only going to be submitted to Your

   14 Honor by --

   15              THE COURT:     Oh, no.    I said the two of you are going

   16 to work on it.       It’s going to be, you know, joint agreement as

   17 to as to form, not as to content, but as to form.              So, work it

   18 out among yourselves and get me a joint submission by close of

   19 business today, all right?

   20              MS. ROME:     All right.    Thank you, Your Honor.

   21              MR. CHOCIEY:     Your Honor, did the preliminary

   22 injunction hearing, will that be with live testimony by

   23 witnesses?

   24              THE COURT:     Well, that depends on what depositions

   25 you have, what declarations you have and the like, but probably



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    1 so.    We can work that out when we get your submissions.

    2              MR. CHOCIEY:     Okay.    Thank you.

    3              MS. ROME:     Thank you, Your Honor.

    4              MS. HESLIN:     Thank you.

    5              THE COURT:     If credibility is an issue, we’ll need

    6 live testimony.

    7              MR. CHOCIEY:     Thank you, Your Honor.

    8              MS. ROME:     Very good.    Thank you.

    9              MR. CHOCIEY:     Bye-bye.

   10              THE COURT:     9 a.m. on the 25th, thank you.

   11              MS. ROME:     Thank you.

   12              MR. CHOCIEY:     Bye-bye.

   13              THE COURT:     All right.

   14                                   * * * * *

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                   I, AMY L. RENTNER, court approved transcriber,

       certify that the foregoing is a correct transcript from the

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       above-entitled matter, to the best of my ability.



       /s/ Amy L. Rentner                          Date:   January 3, 2010

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